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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,             Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,             Case No. 1:20-cv-03715-APM

 v.                                                    HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.

                                     [PROPOSED] ORDER

        Upon consideration of Plaintiffs’ Motion to Extend Discovery Deadlines and the entire

record herein, it is ORDERED that Plaintiffs’ Motion to Extend Discovery Deadlines be and is

hereby GRANTED; and the Amended Scheduling and Case Management Order entered on

February 3, 2021, ECF No. 108-1, is hereby amended as follows:


Event                                                    Calculation of Date     Extension
                                                                                    Date
Completion of fact discovery except for requests        546 days after fact      6/20/2022
for admission for authentication of or admissibility    discovery begins
of documents, data or other evidence; parties to
certify completion of production (including
providing all privilege logs)
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Deadline for Parties to serve opening expert            30 days after close of   7/20/2022
disclosures in accordance with Rule 26(a)(2)(B).        fact discovery
Parties to make simultaneous exchange of all
opening reports for either side.
Deadline for service of requests for admission for      60 days after close of   8/19/2022
authentication of or admissibility of documents,        fact discovery
data or other evidence
Deadline for Parties to serve rebuttal expert       60 days after service        9/18/2022
report(s)                                           of opening reports
Deadline for Parties to serve reply expert report(s)50 days after service        11/7/2022
                                                    of rebuttal expert
                                                    reports
Close of expert discovery                           45 days after service        12/6/2022
                                                    of final expert reports
First day to file dispositive motions without leave Close of expert              12/6/2022
of Court                                            discovery
Post-discovery Status Conference                    To be decided by the           TBD
                                                    Court after close of
                                                    expert discovery
Deadline to file motions for summary judgment and 30 days after close of         1/22/2023
Daubert motions                                     expert discovery
Deadline to file oppositions to motions for         45 days after service        3/8/2023
summary judgment and Daubert motions                of summary judgment
                                                    or Daubert motion(s)
Deadline to file replies concerning motions for     30 days after service        4/9/2023
summary judgment or Daubert motions                 of oppositions to
                                                    Daubert or summary
                                                    judgment motions


All other dates, including the trial date, would remain unchanged. SO ORDERED.



Dated: ________________, 2021                          __________________________________
                                                       Amit P. Mehta
                                                       United States District Court Judge
